Case 4:18-cv-00027-JLK-RSB Document 36 Filed 03/19/19 Page 1 of 2 Pageid#: 380
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                                                                                 AT DANVILLE,VA
                                                                                      FILED
                            IN TH E UN ITED STATES DISTRICT COU RT               MA2 12:2219
                           FO R TH E W ESTERN D ISTRICT O FW RGIN G
                                                                              JULI DU     ,nlFRK
                                       DAN W LLE DIW SION                    BY:     .
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                                                                                 D P    L
 M TASH A N OEL,

               Plaintiff,                           Case N o.4:18-cv-ooo27

                                                    FIN M O R D ER
 W M -M ART STORES FA ST,LP,                        By:Hon.Jackson L.Kiser
 and                                                   SeniorU nited States DistrictJudge
 JOHN DOES 1through 2,
               Defendants.


        THIS DAY came the pa/iesto this action,by counsel,and advised the Couz'tthatthey
 had com prom ised and settled a1lmattersin controversy in thisaction.

        And,itappearingpropersotodo,itisA DJUD GED and ORDERED thatthisacdon be,
 and thesam e hereby is,DISM ISSED W lrlq.
                                         x PREJU DICE,with each party to pay theirown

 taxable coul'tcosts.
        And the Clerk ofthis Courtshallfolw ard cez'tifed copies ofthis Orderto counsel of
 record and shallstrikethismatlerfrom theactivedocketofthisCouz't.
        EN I-EU F.D thisl dayofMarch2019. ,




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                                                e                    t.
                                              ENI R UM TED STA'
                                                              I'ES DISTRICT JUD GE
Case 4:18-cv-00027-JLK-RSB Document 36 Filed 03/19/19 Page 2 of 2 Pageid#: 381




 W E ASK FOR AND CONSENT TO
 THE EN TRY OF THIS ORD ER :



 /s/   K ristopherR .Olin
 KristopherR.Olin,Esq.@ SB No.78890)
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 Is! VictorS.Skaff.1II
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 VictorS.(ç$Di1my'')Skaff,III(VSB No.40054)
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